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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

UNITED STATES OF AMERICA,

      Petitioner,
                                            Case No. 8:22-cv-00406-TPB-CPT
      v.

CAPTIVE ALTERNATIVES, LLC,

      Respondent.
_______________________________________/

     RESPONDENT CAPTIVE ALTERNATIVES’ MOTION FOR LEAVE
     TO FILE PARTIALLY UNDER SEAL OPPOSITION TO PETITION
        TO ENFORCE INTERNAL REVENUE SERVICE SUMMONS

      Respondent Captive Alternatives, LLC (“Captive Alternatives” or “the

Company”), pursuant to L. R. 1.11(c), 1 hereby files this Motion for Leave to File

Partially Under Seal Opposition to Petition to Enforce Internal Revenue Service

Summons (the “Motion”), and in support, states as follows:




1
  Pursuant to Local Rule 1.11(c), the Company requests that during the course of
the litigation, only the Court and parties to the case be entitled to access the
unredacted copy of the forthcoming Partially Sealed opposition to the
Government’s Petition to Enforce Internal Revenue Summons. Upon conclusion,
the Company requests that copies of the Partially Sealed opposition to the
Government’s Petition to Enforce Internal Revenue Summons be returned to the
undersigned counsel or destroyed. The Company requests that sealing be
performed for the maximum amount of time permitted under the Local Rules.
Further, the Company intends to seek permanent sealing at a later, appropriate
time.
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      On July 19, 2022, the Court issued an Order (ECF No. 42) scheduling a show

cause hearing for August 25, 2022 and requiring Captive Alternatives to file any

opposition to the Government’s Petition to Enforce Internal Revenue Service

Summons (“Petition”) (ECF No. 1) no later than August 11, 2022. The Court’s

Order also requires the Government to file any reply to such opposition by August

19, 2022.

      Captive Alternatives intends to file an opposition to the Petition. To provide

the Court with a full picture of the matters before it, Captive Alternatives

anticipates including in its opposition sensitive information implicating the

Company’s legitimate privacy interests. This information has previously been

described to the Court, including through the Company’s Motion to Continue

Show Cause Hearing (ECF No. 17). The Court previously granted limited, partial

sealing of this information in this case. (ECF No. 22). The Company now seeks to

keep this same type of information confidential—again through limited, narrowly

tailored redactions—and for the same reasons previously stated in the Company’s

initial motion for partial sealing (ECF No. 19) and supplemental brief in support

thereof (ECF No. 32). 2 The Company’s reasons for seeking to keep this information


2
 Captive Alternatives is not requesting that the Court seal, in whole or in part, the
show cause hearing or any other proceeding before the Court. This position is
consistent with 28 C.F.R. § 50.9 (Policy with regard to open judicial proceedings)
cited in the Government’s Brief on Sealing Portions of the Record (“Government’s
Brief on Sealing”) (ECF No. 41). Rather, the Company is only seeking leave to
                                         2
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confidential and the harms the Company may suffer if this information is

disclosed are equally applicable today as when the Company first sought partial

sealing in this case. Therefore, consistent with Romero v. Drummond Co., 480 F.3d

1234 (11th Cir. 2007), Captive Alternatives seeks leave to partially seal its

opposition to the Petition for the good cause previously provided.

      Should the Court grant Captive Alternatives leave to file its opposition

partially under seal, the Company also requests, consistent with Local Rule

1.11(d), that the Court require the Government to withhold filings that plausibly

qualify for partial sealing, file the applicable placeholder on the public docket

identifying the filings, and permit Captive Alternatives an opportunity to move to

partially seal the filings in accordance with the Local Rules. More specifically,

Local Rule 1.11(d) provides:

      To file an item that plausibly qualifies for sealing and that the filing
      person knows or reasonably should know another person considers
      confidential, the filing person must file instead of the item a
      placeholder only identifying the item and must notify the other
      person within seven days after filing the placeholder. Within fourteen
      days after receiving the notice, the other person or a party may move
      to seal the item.




implement limited redactions to documents appearing on the public docket. In
addition, to avoid seeking leave to file this Motion under seal, Captive Alternatives
instead refers back to its prior filings (ECF Nos. 17, 22, 32) for the reasoning and
type of information sought to be sealed in Captive Alternatives’ forthcoming
opposition.
                                         3
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Captive Alternatives has previously informed the Government of the specific type

of material that it considers to be confidential and requiring partial sealing.

Accordingly, the Court need not require any action by the Government other than

that which is required by Local Rule 1.11(d).

      Accordingly, for the reasons stated above, and in its prior filings, Captive

Alternatives respectfully requests that the Court grant its Motion for Leave to File

Partially Under Seal Opposition to Petition to Enforce Internal Revenue Service

Summons. 3




3 Captive Alternatives has not designated this Motion as time sensitive under   Local
Rule 3.01(g). Consistent with Local Rule 3.01(c), full briefing of this Motion can be
accomplished prior to the August 11, 2022 deadline for Captive Alternatives to file
an opposition to the Petition. Moreover, the Government has previously provided
the Court with its position as to sealing through the Government’s Brief on Sealing.
However, the Company respectfully requests that the Court rule on this Motion,
or otherwise provide guidance, by August 10, 2022, in order for the Company to
file, in appropriate form, its opposition to the Petition on August 11, 2022.
                                         4
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                      Certificate of Compliance with Rule 3.01(g)

      Counsel for Captive Alternatives hereby certify that they have conferred

with Counsel for the Internal Revenue Service by email, and the Service opposes

the relief requested by this Motion.



Date: July 26, 2022               MCGUIREWOODS LLP

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 26, 2022, I electronically filed the foregoing
by using the Court’s CM/ECF system which will send a notice of electronic filing
to the following counsel of record:


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                                      /s/ Kimberly T. Mydock
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